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9    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,               CR No. 18-00331-GW
13                                           CV No. 23-10627-GW
                Plaintiff,
14                                           [PROPOSED] ORDER
                     v.                      SEALING DOCUMENTS
15
     ARMAN GABAEE,
16     aka “Arman Gabay,”

17              Defendant.

18

19   For good cause shown, IT IS HEREBY ORDERED THAT:
20         The government’s ex parte application for sealed filing is
21   GRANTED.   The following two documents shall be filed under seal:
22   (1) the Declaration of Lindsey Greer Dotson and Exhibit A; and (2)
23   the unredacted version of the government’s opposition to Defendant-
24   Petitioner ARMAN GABAEE’s Motion to Vacate, Set Aside, or Correct
25   Sentence Pursuant to 28 U.S.C. § 2255.
26   ///
27   ///
28
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1           The government may produce the underlying documents as permitted

2    or required by applicable law.

3

4    DATE                                     HONORABLE GEORGE H. WU
                                              UNITED STATES DISTRICT JUDGE
5

6    IN CASE OF DENIAL:
7           The government’s application for sealed filing is DENIED.          The
8    documents the government sought to file under seal shall be returned
9    to the government.
10

11   DATE                                     HONORABLE GEORGE H. WU
                                              UNITED STATES DISTRICT JUDGE
12

13   Presented by:

14     /s/ Lindsey Greer Dotson
     LINDSEY GREER DOTSON
15   Assistant United States Attorney

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 1                                   CERTIFICATE OF SERVICE

 2
          I, Adriana Santos, declare:
 3
          That I am a citizen of the United States and a resident of or employed in
 4
     Los Angeles County, California; that my business address is the Office of United
 5
     States Attorney, 312 North Spring Street, Los Angeles, California 90012; that I am
 6   over the age of 18; and that I am not a party to the above-titled action;
 7        That I am employed by the United States Attorney for the Central District of
 8   California, who is a member of the Bar of the United States District Court for the

 9   Central District of California, at whose direction I served a copy of:

10        SEALING DOCUMENTS ORDER.

11

12    ☐ Placed in a closed envelope for          ☒ Placed in a sealed envelope for
        collection and inter-office                collection and mailing via United
13      delivery, addressed as follows:            States mail, addressed as follows:
14                                               ARMAN GABAEE
                                                 Fed. Reg. No. 76335-112
15                                               FCC Lompoc Camp
                                                 3705 West Farm Road
16                                               Lompoc, CA 93436-2756

17

18    ☐ By hand delivery, addressed as           ☐ By facsimile, as follows:
        follows:
19
      ☐ Via email, as follows:                   ☐ By Federal Express, as follows:
20

21
     This Certificate is executed on August 20, 2024, at Los Angeles, California.
22
     I certify under penalty of perjury that the foregoing is true and correct.
23

24
                                                 Adriana Santos
25                                               Adriana Santos
                                                 Legal Assistant
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